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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *

              v.                                    *      Criminal Case No. JKB-18-0204

JAMES HAIR                                          *



                                    NOTICE OF APPEAL

       Notice is hereby given that the above-named defendant, James Hair, hereby appeals to the

United States Court of Appeals for the Fourth Circuit from the judgment imposed in this action as

set forth in open court on March 25, 2019.



                                             Respectfully submitted

                                                 /S/
                                             CHRISTOPHER C. NIETO, ESQ. #30031
